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CIVIL DOCKET CONTINUATION SHEET

OERFENDANT

PLAINTIFF
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DOCKET NO. MDL B40

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DATE AR. PROCEEDINGS
1999
May 25 [8915 /PROOP of Claim Form For Disappearance Victims by Ramil E. Deroca by Rosita E.
Beraca
8916 PROOF of Claim Form For Disappearance Victims by Samad Lunda by Lugaya Mokamad
Lunda -
8917 PROOF of Claim Form For Disappearance Victims by Alonto Piang by Kurot Piang
8918 (PROOF of Claim Form For Disappearance Victims by Datumama Kasim by Wahida K.
Kasim
e 8919 PROOF of Claim Form For Disappearance Victims by Datu Ali Kasim by Wahida K. Kasin
8920 |PROOF of Claim Form For Disappearance Victims by Salimenang Mangansakan by Nida 5s.
Ugalingan
8921 (PROOF of Claim Form For Disappearance Victims by Quinten Midcadal by Tumindeg
Midcadal
8922 PROOF of Claim Form For Disappearance Victims by Datu Kon Kasim by Wahida K. Kasin

8923 PROOF of Claim Form For Disappearance Victims by Kadtongan Guiamokan by Guiala
Guiamokan

8924 PROOF of Claim Form For Disappearance Victims by Pedro Bacongga by Elizabeth

; | Bacongga Bullecer

18925 PROOF of Claim Form For Disappearance Victims by Guiamad Samama by Bangco Samama
8926 [PROOF of Claim Form For Disappearance Victims by Omar Pancho by Lukaya Otto

8927 (PROOF of Claim Form For Disappearance Victims by Abdul Guipar by Kanacan Guiapar
© 8928 [PROOF of Claim Form For Disappearance Victims by Tiodoro Bulleler by Vicente F.
Bulleler

8929 {PROOF of Claim Form For Disappearance Victims by Magrib Bayatao by Hji Talib
Bayatao

8930 (PROOF of Claim Form For Disappearance Victims by Butin Samama by Bangco Samama
8931 ‘PROOF of Claim Form For Disappearance Victims by Wilisen Mohamad by Abdul Rahman
Mohamad

8932 [PROOF of Claim Form For Disappearance Victims by Uting Esmail by Didek Esmael
6933 [PROOF of Claim Form For Disappearance Victims by Alaviad Matabalao by Esmael CG.

Matabalao
8934 (PROOF of Claim Form For Disappearance Victims by Dimidtang Makalintang Guiali by

i Makalintang Guiali
8935 |PROOF of Claim Form For Disappearance Victims by Saidona Kadil by Makagpi Kadil
8936 IPROOF of Claim Form For Summary Execution Victims by Sinangkad Kamad by Daud M.
Kamad

8937 |PROOF of Claim Form For Summary Execution Victims by Amilil Kamad by Daud M. Kamad
8938 (PROOF of Claim Form For Summary Execution Victims by Akmad Balimbingan by Abel 5S.

Balimbingan

8939 |PROOF of Claim Form For Summary Execution Victims by Mokamad Ukas by Kedza M.,
Ukas

8940 [PROOF of Claim Form For Summary Execution Victims by Paharudin Ukas by Kedza é.

Ukas

8941 |PROOF of Claim Form For Summary Execution Victims by Banali Guiaplos, Gudi Guiapld
and Sagkal Guiaplos by Kamid Guiaplos

8942 iPROOF of Claim Form For Summary Execution Victims by Gunsa Amulan by Latipa Gunsa
8943 |PROOF of Claim Form For Summary Execution Victims by Urel Mao by Salik Abdul

8944 [PROOF of Claim Form For Summary Execution Victims by Midtimbang Guimba by Wahab
Riga

8945 |PROOF of Claim Form For Summary Execution Victims by Hadji Samad Mamalinta by
Hadji Slim Mamalinta

8946 PROOF of Claim Form For Summary Execution Victims by
Slim Mamamlinta

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Norodim Mamalinta by Had ji

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Civil DOCKET CONTINUATION SHEET

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May 25 | 8947 : PROOF of Claim Form For Summary Execution Victims by Sahabudin Mamamlinta by Had jk
Slim Mamalinta
' 8948 PROOF of Claim Form For Summary Execution Victims by Sima Ayunan by Rocky Ayunan
/8949 PROOF of Claim Form For Summary Execution Victims by Tasil Buwat by Mamalinta
: Buat
8950 | PROOF of Claim Form For Summary Execution Victims by Lominog Binasing by Kumayog
Binasing
8951 PROOF of Claim Form For Summary Execution Victims by Abdulbasic H. Abo by Sebad

: : Kamsa
- 8952 PROOF of Claim Form For Summary Execution Victims by Datu Esmail M. Wali and

Datu Puti M. Wali by Datu Norodin W. Mamalinta
: 8953 PROOF of Claim Form For Summary Execution Victims by Takulubo Kaludin by Usop
Malik
3954 | PROOF of Claim Form For Summary Execution Viccima by Datukon Kaditi by Babai K.
: Mamalinta
. 8955 | PROOF of Claim Form For Summary Execution Victims by Alfredo Angcap by Loreto A,
: Angcap
18956 PROOF of Claim Form For Summary Execution Victims by Datu Santucan U. Mamalinta
by Datu Norodin W. Mamalinta
8957 | PROOF of Claim Form For Summary Execution Victims by Asa Otto by Datuten Otte
- 8958 | PROOF of Claim Form For Summary Execution Victims by Saidoma G. Anok by Anok
: Guiamal
8959 = PROOF of Claim Form For Summary Execution Victims by Yunes B. Antao by Mohammadtaha
Yunos
8960 | PROOF of Claim Form For Summary Execution Victims by Cadatun B. Antao by
Mohammadtaha Yunos
8961 | PROOF of Claim Form For Summary Execution Victims by Ali B. Antao by Mohammadtaha

Yunes
8962 | PROOF of Claim Form For Summary Execution Victims by Makimad Kedsel by Sampaka

Salik Kasama

8963 | PROOF of Claim Form For Summary Execution Victims by Amilel Kabagel by Munib
Pakad

8964 | PROOF of Glaim Form For Summary Execution Victims by Ariston B. Alferez by Wilma
Alferez~Jalalon

8965 | PROOF of Claim Form For Summary Execution Victims by Suweb Gogo by Suharto Gogo
8966 | PROOF of Claim Form For Summary Execution Victims by Ahmad Lamada by Abay Lamada
8967 | PROOF of Claim Form For Summary Execution Victims by Haron $8. Yunos by Mohammadtah
Yunos

$968 | PROOF of Claim Form For Summary Execution Victims by Mukabidin Lumambas by

Lumambas Matabalas
8969 | PROOF of Claim Form For Summary Execution Victims by Abdillah Kabilan by Zakalin

Sabpeten

8970 | PROOF of Claim Form For Summary Execution Victims by Tadji Laguiab by Sonny
Laguiab

8971 | PROOF of Claim Form For Summary Execution Victims by Maso Batuwan by Dagedeban
Batawan

8972 | PROOF of Claim Form For Summary Execution Victims by Budsacan Matabalad by Esmael

Matabalad
8973 | PROOF of Claim Form For Summary Execution Victims by Latip Tugal by Tugal Dendeng

8974 | PROOF of Claim Form For Summary Execution Victims by Abdulkadil Datuan by Tolumba4

Datuan .

8975 | PROCGF of Claim Form For Summary Execution Victims by
Balimbingan See Page 298

Datu Ali Sabang by Abel §.

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CIVIL DOCKET CONTINUATION SHEET

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DATE NR. PROCEEDINGS

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May 25 :8976 PROOF of Claim Form For Summary Execution Victims by Leona P. Alferez by Wilma
Alferez-Jalalon

8977 |PROOF cf Claim Form For Summary Execution Victims by Mamputin Kalim by Guiahal
Kalim .

8978 PROOF of Claim Form For Summary Execution Victims by Felix T. Lasagas, Jr.
8979 | PROOF of Claim Form For Summary Execution Victims by Gabino A. Artiaga by Filomend
A. Artiaga

© 8980 |PROOF of Claim Form For Summary Execution Victims by Alberto Hidogul by Neison
Benehilla

8981 PROOF of Claim Form For Summary Execution Victims by Loreto Hidoquo by Nelson
Benehilla

8982 PROOF of Claim Form For Summary Execution Victims by Ricardo S$. Alferez by Wilma
Alferez-Jalalon

8983 PROOF of Claim Form For Summary Execution Victims by Bergonio Centino by Gaudencid
S$. Gentine

8984 (PROOF of Claim Form For Summary Execution Victims by Datu Tiliban Mamadra by
Candalaria R. Mamadra

8985 PROOF of Claim Form For Summary Execution Victims by Aisa Karudi by Karudi Sulaimdr
8986 PROOF of Claim Form For Summary Execution Victims by Sangkali Datuan by Rolly

Datuan
© 8987 (PROOF of Claim Form For Summary Execution Victims by Langog Sinon and Teng Sinon
by Sinen Camaro
8988 PROOF of Claim Form For Summary Execution Victims by Abubabr Guipal by Sapai Siac
Guipal
8989 PROOF of Claim Form For Summary Execution Victims by Ebrahim Masukat by Rahib
Masukat

8990 |PROOF of Claim Form For Summary Execution Victims by Beda Lumambas by Buted
Lumambas

8991 | PROOF of Claim Form For Summary Execution Victims by Dunal Mama by Latipa Gunsa
8992 |PROOF of Claim Form For Summary Execution Victims by Musa Dupak by Kasid Dupak
8993 | PROOF of Claim Form For Summary Execution Victims by Abdulkarim Bituanan by

Saudi Eons Bituanan
© 8994 | PROOF of Claim Form For Summary Execution Victims by Kamlon Masil by Esmael
G. Matabalao
8995 | PROOF of Claim Form For Summary Execution Victims by Macabangen Lumenda by Ishak

Macabangen

26 8996 | PROOF of Claim Form For Torture Victims by Elvira Santos Urpiana

8997 | PROOF of Claim Form For Torture Victims by Carlos S. Manansala

8998 | PROOF of Claim Form For Torture Victims by Louella Quiambao Manansaia

8999 | PROOF of Claim Form For Torture Victims by Herminia A. Ibarra

9000 | PROOF of Claim Form For Terture Victims by Vecente Belesario

9001 | PROOF of Claim Form For Torture Victims by Jose Relate

$002 | PROOF of Claim Form For Torture Victims by Dionesio G. Loterte

9003 | PROOF of Claim Form For Torture Victims by Consolacion Z. Geografo

9004 | PROOF of Claim Form For Torture Victims by Anaceto Morata, Deceased by Nora G.

Morata
9005 | PROOF of Claim Form For Torture Victims by Carlos G. Yari, Deceased by Emiliana

G. Yari

9006 | PROOF of Claim Form For Torture Victims by Abelardo Pasamonte
9007 | PROOF of Claim Form For Torture Victims by Roland T. Abiog

9008 | PROOF of Claim Form For Torture Victims by Lino Maderazo Villarin

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Civil, DOCKET CONTINUATION SHEET

PLAINTIFF DEPENDANT
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DATE NR. PROCEEDINGS
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May 26 ©9009 (PROOF of Claim Form For Torture Victims by Mheng U. Silongan, Deceased by

: Mohamadtaha A. Usep

9010 PROOF of Claim Form For Torture Victims by Leonarda Navaia

9011 (PROOF of Claim Form For Torture Victims by Wilfredo F. Fajardo

‘9012 PROOF of Claim Form For Torture Victims by Pascual 0. Abadilla, Deceased by Nerio
: : A. Esperas

‘9013 PROOF of Claim Form For Torture Victims by Rodolfo $. Ibarra

$9014 PROOF of Claim Form For Torture Victims by Hersham $. Allego

9015 (PROOF of Claim Form For Torture Victims by Antonio Torralba Abiog, Jr.

9016 (PROOF of Claim Form For Torture Victims by Armando G. Lopez

9017 (PROOF of Claim Form For Torture Victims by Elena C. Dimasuhid

9018 PROOF of Claim Form For Torture Victims by Julie Pelegrino

9019 PROOF of Claim Form For Torture Victims by Joseph M. Gumanid

9020 PROOF of Claim Form For Torture Victims by Gandie J. Polvorido

9021 PROOF of Claim Form For Torture Victims by Gilacio U. Palermo

9022 PROOF of Claim Farm For Torture Victims by Uldarico G. Dugaduga, Jr.

9023 PROOF of Claim Form For Torture Victims by Sofronio R. Ando

9624 PROOF of Claim Form For Torture Victims by Alipio T. Juat by Nicanorma T. Juat
9025 (PROOF of Claim Form For Torture Victims by Edwin L. Zamora

9026 (PROOF of Claim Form For Torture Victims by Segundino 8. Laco

9027 [PROOF of Claim Form For Torture Victims by Shirley L. Futalan

9628 (PROOF of Claim Form For Torture Victims by Edgar Layra

9029 PROOF of Claim Form For Torture Victims by Emma C. Diaz

9030 |PROOF of Claim Form For Torture Victims by Domenador A. Gabelis

9031 |PROOF of Claim Form For Torture Victims by Asuncion B. Loterte

3032 (PROOF of Claim Form For Torture Victims by Pepito B. Liagao

9033 PROOF of Claim Form For Torture Victims by Dominggo B. Mcrilla

9034 (PROOF of Claim Form For Torture Victims by Lamberto Bela Cruz

$035 (PROOF of Claim Form For Torture Victims by Marcelo P. Segarra

9036 PROOF of Claim Form For Torture Victims by Francisco C. Laurella, Deceased by
Wilma L. Afan

9037 |PROOF of Glaim Form For Disappearance Yictims by Romeo T. Tibayan, Jr. by Nicancral S
i T. Juat

9038 |PROOF of Claim Form For Disappearance Victims by Aniceto T. Tibayan by Nicanora T.
Juat

9039 PROOF of Claim Form For Disappearance Victims by Abras Dolonan by Guimat Dolonan
9040 PROOF of Claim Form For Disappearance Victims by Gawang Delonan by Guimat Dolonan
9041 |PROOF of Claim Form For Summary Execution Victims by Porferia Mabansag by Maria
Mabansag

9042 (PROOF of Claim Form For Summary Execution Victims by Maximo Batula Lonolono by
Elias M. Lonelone

9043 PROOF of Claim Form For Summary Execution Victims by
Dalgan

9044 PROOF of Claim Form For Summary Execution Victims by Emelita Mabansag by Maria
Mabansag

$045 PROOF of Claim Form For Summary Execution Victims by Roberto Andres by Flordelina
Andres

S046 PROOF of Claim Form For Summary Execution Victims by Olimpio Mabansag, Jr. by Narip
Mabansag

9047 (PROOF of Claim Form For Summary Execution Victims by Datu Manong by Mano Aba
9048 PROOF of Claim Form For Summary Execution Victims by Omar Hadji Norodin by Hadji
Norodin Makapenag

Amilil Daigan by Sabandal

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1999 :
May 26 9049 PROOF of Claim Form For Summary Execution Victims by Kanao Omar by Sanggaton Omar
9050 : PROOF of Claim Form For Summary Execution Victims by Dayon Baslen by Maliga Akan
9051 PROOF of Claim Form For Summary Execution Victims by Sambutuan Samad by H.
Mokamad Samad
9052 PROOF of Claim Form For Summary Execution Victims by Myrna Mabansag by Maria
Mabansag
9053 PROOF of Claim Form For Summary Execution Victims by Mario Mabansag by Maria

Mabansag
@ 9054 PROOF of Claim Form For Summary Execution Victims by Mariano Mabansag by Maria
Mabansag
9055 PROOF of Claim Form For Summary Execution Victims by Melinda Mabansag by Maria
: Mabansag
9056 PROOF of Claim Form For Summary Execution Victims by Marianito Mabansag by Maria
Mabansag
9057 : PROOF of Claim Form For Summary Execution Victims by Elena Mabanseag by Maria
Mabansag

9058 | PROOF of Claim Form For Summary Execution Victims oy Olympic Mabansag, Sr. by

Maria Mabansag
9059 | PROOF of Claim Form For Summary Execution Victims by Reynaldo Marciso Navaja by

Constancio Navaja
$060 PROOF of Claim Form For Summary Execution Victims by Kaitum Kulodan by Laguiab
Kulodan

9061 | PROOF of Claim Form For Torture, Summary Execution and Disappaearance Victims by
Ronald Jan Ferrer Quimpo by Norman F. Quimpo

9062) Certificate of Service - on behalf of Plaintiffs - [Gv 86-333, 86-390]

27 9063 | PROOF of Claim Form For Torture Victims by Ibrahim Usman, Deceased by Malgian
Usman
9064 PROOF of Claim Form For Torture Victims by Galangan Klat
9063 PROOF of Claim Form For Torture Victims by Benildo Z. Carlos
9066 | PROOF of Claim Form For Torture Victims by Milpantax G. Amilol
@ 9067 | PROOF of Claim Form For Torture Victims by Abdul B. Kasim
9068 | PROOF of Claim Form For Torture Victims by Posdan Saligandang
9069 | PROOF of Claim Form For Torture Victims by Konsag Pasawilan
9070 | PROOF of Claim Form For Torture Victims by Resurrecion R. Palma
9071 : PROOF of Claim Form For Torture Victims by Segundina "Mila" L. Sibayan
9072 | PROOF of Claim Form For Torture Victims by Adolfo Buiza Y Briones, Deceased by
Romeo M. Buiza
9073 | PROOF of Claim Form Fer Torture Victims by Filomeno C. Mabute
9074 |PROOF of Claim Form For Torture Victims by Marcelo P. Segara
9075 | PROOF of Claim Form For Torture Victims by Benjamin G. Piring
9076 (PROOF of Claim Form For Torture Victims by Romeo 0. Buenavidez
9077 |PROOF of Claim Form For Torture Victims by Tessie G. Labrador
9078 PROOF of Claim Form For Torture Victims by Ramon Valdez, Deceased by Anastacia

Valdez

39079 | PROOF of Claim Form For Disappearance Victims by Sansaluna Baguilan by Patutin
Baguilan

9080 | PROOF of Claim Form For Disappearance Victims by Usop T. Kamid by Aljehad T.
Kanaken

$081 |PROOF of Claim Form For Disappearance Victims by Mundoya Abid and Okangki
Raliyagan by Manambiling Usman
$082 (PROOF of Claim Form For Disappearance Victims by Kutin Maranao by Wahida Kk. Kasim

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DATE NR. PROCEEDINGS
1999
May 27 (9083 PROOF of Claim Form For Disappearance Victims by Ustadz Malawiya Kamag by Asidza
Dukay Kamag
$084 PROOF of Claim Form For Disappearance Victims by Lablilas Mangetog by Dalitin
Mangetog
9085 PROOF of Claim Form For Disappearance Victims by Linggang Balambad
‘9086 [PROOF of Claim Form For Disappearance Victims by Kasim Maulana
‘9087 :PROOF of Claim Form For Disappearance Vietims by Dekay liga by Butuan Uga
9088 PROOF of Claim Form For Disappearance Victims by Zaidudin Bantas by Bantas Kalim
9089 PROOF of Claim Form For Disappearance Victims by Bigandang Acbar by Abdul A.
: Acbar
9090 “PROOF of Claim Form For Disappearance Victims by Ibrahim Lumamsag by Monalay
: : Galmak
‘9091 (PROOF of Claim Form For Disappearance Victims by Nilo A. Olegario, dr. by Nilo
: iL. OQlegaric
9092 PROOF of Claim Form For Disappearance Victims by Liga Lumansag by Monalax Gazmak
9093 PROOF of Claim Form For Disappearance Victims by Reynaldo Mamerto Ruiz Granados
: by Manuel Ruis Mendoza
9094 PROOF of Claim Form For Disappearance Victims by Saikudin Hadji Datak by Nerodin
Had ji Patak
9095 PROOF cf Claim Form Fer Summary Execution Victims by Haron Guiamadil by Tandi
| Saliba
9096 (PROOF of Claim Form For Summary Execution Victims by Alim Ulama
9097 [PROOF of Claim Form For Summary Execution Victims by Pendaton Ambag and Musa
Guiamad by Hadiguia Alo
9098 /PROOF of Claim Form For Summary Execution Victims by Sulay Abidin by Abedin
Ebrahim
9099 PROOF of Claim Form For Summary Execution Victims by Ralim M. Mastur by Ahmad M.
: Mastur
9100 (PROOF of Claim Form For Summary Execution Vietims by Kigat Dia by Sakandal Dia
‘9LOL [PROOF of Claim Form For Summary Execution Victims by Nani Maliga amd Segundo Ma by
Guiamad Matingkong
9102 |PROOF of Claim Form For Summary Execution Vietims by Alim Ulana
9103 (PROOF of Claim Form For Summary Execution Victims by Magandingan Unday by Ibrahim @
Magandingan
9104 PROOF of Claim Form For Summary Execution Victims by Dileunbangam S. Utte by
Datunaut E. Utto
9105 |PROOF of Claim Form For Summary Execution Victims by Edic H. Cambino
9106 [PROOF of Ciaim Form For Summary Execution Victims by Mando G. Amilal
9107 [PROOF of Claim Form For Summary Execution Victims by Iuida Uday
9108 (PROOF of Claim Form For Summary Execution Victims by Racma Ampatu by Sawa Ampatu
$109 (PROOF of Claim Form For Summary Execution Victims by Belung Ampatu by Sawa Ampatu
9110 !PROOF of Claim Form For Summary Execution Victims by Sedik Maliga by Kasan Sedik
911i [PROOF of Claim Form For Summary Execution Victims by Esmail Usman by Suraida Usman
9112 PROOF of Claim Form For Summary Execution Victims by Lagundungan Makasilang
9113 PROOF of Claim Form For Summary Execution Victims by Ali Dedin by Bai Zubaida
Dimasangkay
9114 PROOF of Claim Form For Summary Execution Victims by Kondong Malaguia by Buya
Malaguia
9115 PROOF of Claim Form For Summary Execution Victims by Dakuwa Unes by Ubay Unos
9116 PROOF of Claim Form For Summary Execution Victims by Abdullah Kanakan by Guiamalodin
Kanakan
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page 20266 _PAGES
BATE NR, PROCEEBINGS
1999 —

May 27 |9117 | PROOF of Claim Form For Summary Execution Victims by Sambatuan Kanakan by
Guiamaledin Kanakan

9118 | PROOF of Claim Form For Summary Execution Victims by Abdul Wahab by Medtonong
Abdul

9119 | PROOF of Claim Form For Summary Execution Victims by Bai Tabai Benito

9120 | PROOF of Claim Form For Summary Execution Victims by Maliga Rasim by Masengei
Budzai

@ 9121 | PROOF of Claim Form For Summary Execution Victims by Mama Sumensil by Mamedtig
Sumensil

9122 PROOF of Claim Form For Summary Execution Victims by Rasal Kapal and Omar Kapal
by Bai Raga Angkanan

9123 | PROOF of Claim Form For Summary Execution Victims by Zamora Angkanan by Bai Raga
: Angkanan

'9124 | PROOF of Claim Form For Summary Execution Victims by Taleb Mangendla

9125 PROOF of Claim Form For Summary Execution Victims by Guiamaludin Guiamal by
Alimedin Guiamal

9126 )PROOF of Claim Form For Summary Execution Victims by Maniang T. Kadctug by Kuntua

Kadtug

$127 | PROOF of Claim Form For Summary Execution Victims by Odi Ampatu by Sawa Ampatu

9128 ; PROOF of Claim Form For Summary Execution Victims by Saypudin M. Metol

9129 |PROOP of Claim Form For Summary Execution Victims by Pinagayao Adzal by Sueb Adzal]
Pinagayao

9130 | PROOF of Claim Form For Summary Execution Victims by Bayon Kanakan by Guiamalodin
Kanakan

9131 | PROOF of Claim Form For Summary Execution Victims by Kalmo Abdul

9132 | PROOF cf Claim Form For Summary Execution Victims by Kedtong Upam

9133 | PROOF of Claim Form For Summary Execution Victims by Zombaga Saligidan by Zubera
Saligidan

9134 | PROOF of Claim Form For Summary Execution Victims by Abdul Dodin by Bai Zubaida

Dimasangkay
9135 PROOF of Claim Form For Summary Execution Victims by Dagandal M. Tahir by Abduimal

ble

M. Tahic
6 9136 |PROOF of Claim Form For Summary Execution Victims by Akmad M. Kamsa and Amina Kamde
by Esmael Kamsa
9137 | PROOF of Claim Form For Summary Execution Victims by Ambak Kada by Zacaria 8. Ambd
9138 PROOF of Claim Form For Summary Execution Victims by Edic M. Cambing
9139 | PROOF of Claim Form For Summary Execution Victims by Incion Balina by Fdzainon
Meling
$140 |PROOF of Claim Form For Summary Execution Victims by Udag Ugkal by Tamano Ugkal
914] | PROOF of Claim Form For Summary Execution Victims by H. Baimbo Pinguiaman
9142 |PROOF of Claim Form For Summary Execution Victims by Orlando C. Viernes by
Purificacion 6, Viernes
9143 |PROOF of Claim Form For Summary Execution Victims by Ronaldo 0. Viernes by
Purificacion O. Viernes
9144 |PROOF of Claim Form For Summary Execution Victims by Marieta 0. Viernes by
Purificacion 0. Viernes
9145 | PROOF of Claim Form For Summary Execution Victims by Omi Usma Palundong and Samipd
Dalindong by Abubakar Dalundong
9146 PROOF of Claim ¥orm For Summary Execution Victims by Nano Lumundao Laligan by

Pendatun T. Lumundao

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' May 27 :9147 (PROOF of Claim Form For Summary Execution Victims by Abdulbasit Salindugay by

: : Saiba Salindugay

°9148 [PROOF of Claim Form For Summary Execution Victims by Edgardo Real Germe by Pedro

: A. Germe

9149 (PROOF of Claim Form For Summary Execution Victims by Jose Valdez by Mariano Valdeg,

i i Sr.

9150 PROOF of Claim Form Fer Summary Execution Victims by Benjamin Villanueva by Feliza

Villanueva

9151 PROOF of Claim Form For Summary Execution Victims by Langko Mandang by Aguinaldo

: : Mandang

‘9152 PROOF of Claim Form For Summary Execution Victims by Saban Mudzal by Tionga

: Mudzal :

‘9153 PROOF of Claim Form For Summary Execution Victims by Asa 0. Barang by Tato Abdul

9154 PROOF of Claim Form For Summary Execution Victims by Dilmo Abedin by Ebrahim
Abedin

9155 PROOF of Claim Form For Summary Execution Victims by Tocs Abdullah by Abdullah Ali

9156 PROOF of Claim Form For Summary Execution Victims by Kado Labagani and Husain

Labagani by Quiane Labagani

9157 ‘(PROOF of Claim Form For Summary Execution Victims by Badrobin Kamama by Kanapia

: Kamama

9158 (PROOF of Claim Form For Summary Execution Victims by Archimedes Trajano by Agapita ©
F, Trajane

9159 |PROOF of Claim Form For Summary Execution Victims by Makadela Kasan by Abdullah
Kasan

9160 PROOF of Claim Form For Summary Execution Victims by Amante Medina Quimosing by
Allyn Quimosing

9161 (PROOF of Claim Form For Summary Execution Victims by Sinapal Agao by Kere Medidis
Sinapal

9162 (PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Milagros Asterga-Garcia

9163 PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by

Hermengildo Garcia IV S

28 9164 ‘PROOF of Claim Form For Torture Victims by Rogelio (Roger) S. Mangubat

9165 (PROOF of Claim Form For Torture Victims by Ernesto A. Ramiscal

9166 (PROOF of Claim Form For Torture Victims by Policarpio Ubod

9167 (PROOF of Claim Form For Torture Victims by Leonilo Quindoza, Deceased by Liwayway
Quindoze

9168 PROOF of Claim Form For Torture Victims by Jose G. Lucero, Sr., Deceased by
Angeles Lucero

9169 PROOF of Claim Form For Torture Victims by Andres $. Maniquiz, Jr.

9170 PROOF of Claim Form For Torture Victims by Bienvenido Dichoso, Deceased by Generos
Dichose

NL71 PROOF of Claim Form For Torture Victims by Serafin R. Reyplan

9172 PROOF of Claim Form For Torture Victims by Emmanuel Bugay Ignacio

9173 PROOF of Claim Form For Torture Victims by Angeles A. Grecia

9174 PROOF of Claim Form For Torture Victims by Mario M. Galang

9175 PROOF of Claim Form For Torture Victims by Amable C. Aparis

9176 [PROOF of Claim Form For Summary Execution Victims by Labulas Mangetog by Dautin
Mangetog

9177 PROOF of Claim Form For Summary Execution Victims by Ayuman Abdullah by Sanggutin
Abdullah

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May 28 9178 : PROOF of Claim Form For Summary Execution Victims by Archimedes Trajano by
Agapita F. Trajano
9179 PROOF of Claim Form For Summary Execution Victims by Danilo ¥. Pasion by Alfreda
Pasion .
9180 PROOF of Claim Form For Summary Execution Victims by Victoriano T. Bayabos by
Remedies Gorgonio-Bayabos
9181 PROGF of Claim Form For Torture, Summary Execution and Disappearance Victims by
© Jose T. Arture
9182 | Filing of Simplified Proof of Claim Forms
9183 | PROOF of Claim Form For Torture Victims by Jose 8. Lovely
9184 PROOF of Claim Form For Terture, Summary Execution and Disappearance Victims by
/ Victor B. Lovely, Jr.
9185 PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Estate of Andrea B. Lovely, Deceased by Victor B. Lovely, Jr. :
9186 PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by |
Estate of Baltazar B. Lovely, Deceased by Victor B. Lovely, Jr.
°9187 PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
| Estate of Lucio 0. Abalon, Deceased by Maria Annatolia L. Abalon
9188 [Notice of Motion and MOTION for Attorneys Fees to Be Added to the Sison/Piopongco
@ | Plaintiffs’ Judgment; Memorandum of Points and Authorities; Declaration of
Paul L. Hoffman - [Relates to Sison and Piopongco Cases} - on behalf of
Sison/Piopongco Plaintiffs - Referred to Judge Real
9189 (Notice of Filing Judgment Appealed From Under Seal - on behalf of Class Plaintiffs
Cealsa Hilao, Adora Faye De Vera, Arturo Revilla, Renato Pineda, Jose Duran
and Paula Romero and Objectors Fidel Agcaoili, Juliete de Lima Sison and
Reverend Cesar Taguba ~ [Relates to Hilao Case} - SEALED
Jun 1 9190 | PROOF of Claim Form For Torture Victims by Rodelio Deguit Empe radoa
9191 | PROOF of Claim Form For Torture Victims by Felomino Magsipok
9192 | PROOF of Claim Form For Torture Victims by Elito Matias, Deceased by Evelyn M.
Heramis
@ 9193 | PROOF of Claim Form For Torture Victims by Joel Plaquino, Deceased by Lolita B.
Plaquino
9194 | PROOF of Claim Form For Torture Victims by Numeriane Tinong
9195 | PROOF of Claim Form For Torture Victims by Jimmy Salay
9196 | PROOF of Claim Ferm Fer Torture Victims by Jaime Gauran
9197 PROOF of Claim Form For Torture Victims by Blas Domingo, Deceased by Nelieta
Solis
9198 | PROOF of Claim Form For Torture Victims by Wilfredo A. Villocine
9199 | PROOF of Claim Form For Torture Victims by Wildredo Alba Villecino
9200 | PROOF of Claim Form For Torture Victims by Domingo Bautista Lumabi
9201 | PROOF of Claim Form For Torture Victims by Arsenio Estolloso
9202 | PROOF of Claim Form For Torture Victims by Santiago Alvaro
9203 |} PROOF of Claim Form For Torture Victims by Alexander M. Gonzales, Deceased by
Emmanuel M. Gonsales
9204 | PROOF of Claim Form For Torture Victims by Segundo P. Anire, Deceased by Maria
Estela A. Alude
9205 | PROOF of Claim Form For Torture Victims by Joel R. Firbolario
9206 | PROOF of Claim Form For Torture Victims by Mayorico Madolid Adamas, Deceased by
Maria Madolid Admas
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Jun 1 $207 PROOF of Claim Form For Torture Victims by Jaime Lumogdang

9208 PROOF of Claim Form For Torture Vicrims by Leopoldo Dimalalu-an

9209 PROOF of Claim Form For Torture Victims by Luis H. Ballenas

9210 PROOF of Claim Form For Torture Victims by Pred Carlos, Deceased by Felezardo

: Caries

9211 PROOF of Claim Form For Torture Victims by Winnie Carlos

‘9212 (PROOF of Claim Form For Torture Victims by Aquilino Joaquin

9213 (PROOF of Claim Form Fer Torture Victims by Delfin Dioso

9214 |PROOF of Claim Form For Torture Victims by Prudencio Antonio, Deceased by Norma

Antonia

9215 (PROOF of Claim Form For Torture Victims by Moleno Langote

$216 “PROOF of Claim Form For Torture Victims by Norberto Castille

9217 ':PROOF of Claim Form For Torture Victims by Lawe-an Rameo

9218 PROOF of Claim Form For Torture Victims by Alexander E. Albofera

9219 PROOF of Claim Form For Torture Vietims by Eusebio J. Guballo, Deceased by Florita
: M. Guballo

9220 |PROOF of Ciaim Form For Torture Victims by Diosdado B. Guanlao

‘9221 PROOF of Claim Form For Torture Victims by Anacleto Guballo, Deceased by Jocelyn

: Guballo-Madolid

9222 -PROOF of Claim Form For Torture Victims by Santiago "Sannie" P. Labarda

9223 |PROOF of Claim Form For Torture Victims by Jovito C. Labajo

9224 (PROOF of Claim Form For Torture Victims by Abdulgabi Sangkong, Deceased by Suri

: Sangkong

: PROOF of Claim Form For Torture Victims by Amancio 0. Palaje

(9226 [PROOF of Claim Form For Torture Victims by Manuel Estonanto

9227 |PROOF of Claim Form For Torture Vietims by Eustaguio Fulong, Deceased by Victoria

: Fulong

($228 (PROOF of Claim Form For Torture Victims by Agustin Gobris Gutlay

‘9229 PROOF of Claim Form For Torture Victims by Danelo Garais

9230 (PROOF of Claim Form For Torture Viccims by Leopoldo Golimlim Granado

9231 PROOF of Claim Form For Torture Victims by Fedrito Guban

9232 PROOF of Claim Form For Torture Victims by Raquel Legarde Borromeo

9233 [PROOF of Claim Form For Torture Victims by Virginia Gosgolan Granado

9234 PROOF of Claim Form For Torture Victims by Werquin Marchan

9235 |PROOF of Claim Form For Torture Victims by Celso B. Madronio

9236 (PROOF of Claim Form For Torture Victims by Renato Hamof

9237 [PROOF of Claim Form For Torture Victims by Dominggo Busa, Deceased by Rosalina

Busa

9238 (PROOF of Claim Form For Torture Victims by Nelia Areston

9239 (PROOF of Claim Form For Torture Victims by Antonio Feolino

9240 [PROOF of Claim Form For Torture Victims by Haide £. Feolino

9241 PROOF of Claim Form For Torture Victims by Mary Ann Givero Ballestra

9242 PROOF of Claim Form For Torture Victims by Juan Galma

$243 PROOF of Claim Form For Torture Victims by Jimmy Gayou

9244 (PROOF of Claim Ferm For Torture Victims by Maria Llacer Abril

9245 PROOF of Claim Form For Torture Victims by Alberto Ariston

9246 [PROOF of Claim Form For Torture Victims by Perla Garra Binas

9247 |PROOF of Claim Form For Torture Victims by Exequiel Dioquino, Jr.

9248 (PROOF of Claim Form For Torture Victims by Roland Gorofil Binas

9249 PROOF of Claim Form For Torture Victims by Jorge E. Evan

9250 [PROOF of Claim Form For Torture Victims by Wilfredo Hebres

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DATE NR. PROCEEDINGS
1999
Jun 1 9251 | PROOF of Claim Form For Torture Victims by Jaime Areston
$252 PROOF of Claim Form For Torture Victims by Ernesto Gacias
9253 . PROOF of Claim Form For Torture Victims by Manuel F. Garra
9254 | PROOF of Claim Form For Torture Victims by Bernardo Agnote, Deceased by Antenio
Agnote
$255 PROOF of Claim Form For Tortare Victims by Fidel Esternon
9256 PROOF of Claim Form For Torture Victims by Juan Evan, Deceased by Noel Evan
@ 9257 : PROOF of Claim Form For Torture Victims by Rogelio E. Encinas
9258 | PROOF of Claim Form For Torture Victims by Juana E. Encinas
9259 : PROOF of Claim Form For Torture Victims by Diosdado Mias
9260 | PROOF of Claim Form For Torture Victims by Agapito Evan, Deceased by Kristine
Evan
9261 PROOF of Claim Form For Torture Victims by Carlos Evan
9262 PROOF of Claim Form For Torture Victims by Leon Evan
9263 | PROOF of Claim Form For Torture Victims by Roger Feolino
9264 PROOF of Claim Form For Torture Victims by Ereve Redentor
9265 | PROOF of Claim Form For Torture Victims by Eleas Evan, Deceased by Gaudencio
Evan
9266 | PROOF of Claim Form For Torture Vietims by Honesto Binas
9267 | PROOF of Claim Form For Torture Victims by Amparo G. Balanta
9268 PROOF of Claim Form For Torture Victims by Givere Redito
9269 | PROOF of Claim Form For Torture Victims by Benjamin Gabelo Gibaga
9270 | PROOF of Claim Form For Torture Victims by Angel Anano
9271 | PROOF of Claim Form For Torture Victims by Carlito Estonanto
9272 | PROOF of Claim Form For Torture Victims by Melchor Hebres
9273 | PROOF of Claim Form For Torture Victims by Nemesio R. Hagos, Sr.
9274 | PROOF of Claim Form For Torture Victims by Antinio Hebres
9275 | PROOF of Claim Form For Torture Victims by Vicente Raguion
9276 | PROOF of Claim Form For Torture Victims by Nelson 8. Hajas
9277 | PROOF of Claim Form For Torture Victims by Anastacio Gimao
9278 | PROOF of Claim Form For Torture Victims by Neneta Funelas
@ 9279 | PROOF of Claim Form For Torture Victims by Estilito E. Funelas
9280 | PROOF of Claim Form For Torture Victims by Benjamin Dugan Reblora
9281 PROOF of Claim Form For Torture Victims by Felix Gardoque Garra, Deceased by
Perla Garra Binas
9282 | PROOF of Claim Form For Torture Victims by Jesus Funelas
9283 | PROOF of Claim Form For Torture Victims by Renato B. Pancipane
9284 | PROOF of Claim Form For Torture Victims by Rudy E. Funelas
9285 i PROOF of Claim Form Fer Torture Victims by Pio G. Pancipane
9286 | PROOF of Claim Form For Torture Victims by Jose A. Dado
9287 | PROOF of Claim Form For Torture Victims by Ernesto Hije
9288 | PROOF of Claim Form For Torture Victims by Nena Dasco Gipit
9289 | PROOF of Claim Form For Torture Victims by Ernesto Gipit
9290 | PROOF of Claim Form For Torture Victims by Remedios Guelan Diaz
9291 | PROOF of Claim Form For Torture Victims by Manrico Granado
9292 | PROOF of Claim Form For Torture Victims by Rosalinda T. Miras
9293 | PROOF of Claim Form For Torture Victims by Rosito Canelas, Deceased by Felicitas
Canelas
9294 | PROOF of Claim Porm For Torture Victims by Natividad Gapuen
9295 | PROOF of Claim Form For Torture Victims by Luis Galpa, Sr.
9296 | PROOF of Claim Form For Torture Victims by Isidro F. Galarosa
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1999 :
Jun 1 9297 PROOF of Claim Form For Terture Victims by Manuel Gacelo (Arcelo}
9298 PROOF of Claim Form For Torture Victims by Crispin Gacos, Deceased by Ligaya F.
Gacos
‘9299 PROOF of Claim Form For Torture Victims by Meliton Furio
9300 PROOF of Claim Form For Torture Victims by Jose F. Fulgar, Deceased by Caridad F.
: Fulgar
9301 (PROOF of Claim Form For Torture Victims by Romeo Mira
‘9302 [PROOF of Claim Form For Torture Victims by Norberto F. Fresa, Deceased by Nelly
: De Fresa
9303 PROOF of Claim Form For Torture Victims by Carmen Fresnido
9304 “PROOF of Claim Form For Torture Victims by Leonora Fermanes
9305 .PROOF of Claim Form For Torture Victims by Cecilia Zarsuela
9306 ‘PROOF of Claim Form For Torture Victims by Mariano Olayres, Sr., Deceased by
Teresita Olavres y Belarmino
9307 (PROOF of Claim Form For Torture Victims by Jose A. Grita, Deceased by Rogelio A.
Grita
‘9308 PROOF of Claim Form For Torture Victims by Fe C. Navales
‘9309 PROOF of Claim Form For Torture Victims by Juan B. Greta
$310 PROOF of Claim Form For Torture Victims by Esperidion Fuga, Deceased by Thelma

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: Vda De Fuga
9311 iPROOF of Claim Form For Torture Victims by Emelino Gacos, Deceased by Diosdado ©
Gacos
9312 PROOF of Claim Form For Torture Victims by Henry G. Evasco
9313 PROOF of Claim Form For Torture Victims by Eliseo FUga, Deceased by Salvacion
Fuga
9314 (‘PROOF of Claim Form For Torture Victims by Arturo Gacarta, Deceased by Clemencia
: Gallor
"9315 (PROOF of Claim Form For Torture Victims by Levy Fuga, Sr.
‘9316 (PROOF of Claim Form For Torture Victims by Francisco Fuedan
‘9317 ‘PROOF of Claim Form Por Torture Victims by Mercurio CG. Fortes
9316 PROOF of Claim Form For Torture Victims by Mario Delgado, Deceased by Emerencina

G. Delgado
9319 [PROOF of Claim Form For Torture Victims by Lutgarda Garrote S}
9320 ‘PROOF of Claim Form For Torture Victims by Jaime Fresnido
9321 (PROOF of Claim Form For Torture Victims by Rogelio F. Fremista
9322 (‘PROOF of Claim Form For Torture Victims by Domingo Fresnido
9323 [PROOF of Claim Form For Torture Victims by Adolfo Frades
9324 (PROOF of Claim Form For Torture Victims by Gibson Marquez
9325 (PROOF of Claim Form For Torture Victims by Salvador Frades
9326 ‘PROOF of Claim Form For Torture Victims by Benjamen Galarosa
9327 (PROOF of Claim Form For Torture Victims by Emiliano De Los Santos
9328 PROOF of Claim Form For Torture Victims by Francisco G. Fuga, Sr.
9329 PROOF of Claim Form For Torture Victims by Roque G. Enteria
9330 'PROOF of Claim Form For Torture Victims by Salvacion Fermanes
9331 PROOF of Claim Form For Torture Victims by Edgar Fugen, Deceased by Elmer D.
9332 (PROOF of Claim Form For Torture Victims by Crispen E. Gabionza, Deceased by
Yolanda Gabionza
9333 PROOF of Claim Form For Torture Victims by Sofronio A. Borromeo, Deceased by Celia J,
Borromeo
9334 [PROOF of Claim Form For Torture Victims by Fortonato Hebris

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1999
Jun 1 9335 PROOF of Claim Form For Torture Victims by Pedro G. Garrote

$336 PROOF of Claim Form For Torture Victims by Emelic Fresnido

9337 | PROOF of Claim Form For Torture Victims by Wilfren Fulong, Deceased by Nelia
Fulong

$338 PROOF of Claim Form For Torture Victims by Abraham Fulong

9339 |PROOF of Claim Form For Torture Victims by Paciente Gabionza

9340 | PROOF of Claim Form For Torture Victims by Luz Fresnido

9341 | PROOF of Claim Form For Torture Victims by Rafael Relanes

9342 | PROOF of Claim Form For Torture Victims by Primo Gapas, Jr.

9343 PROOF of Claim Form For Torture Victims by Amador FP. Hailon, Sr.

9344 PROOF of Claim Form For Torture Victims by Amado Freras

9345 PROOF of Claim Form For Torture Victims by Faustino E. Firmanes

9346 PROOF of Claim Form For Torture Victims by Oscar Hebres

9347 © PROOF of Claim Form For Torture Victims by Zosemo Casaya

9348 PROOF of Claim Form For Torture Victims by Rodrigo Fortea

9349 PROOF of Claim Form For Torture Victims by Simplicio Margelino

9350 | PROOF of Claim Form For Torture Victims by Rogelio Grita

9351 | PROOF of Claim Form For Torture Victims by Silvestre DB. Fuedan

9352 PROOF of Claim Form For Torture Victims by Gabriel Fugen

9353 | PROOF of Claim Form For Torture Victims by Elias A. Dino

9354 | PROOF of Claim Form For Torture Victims by Felimon Fortes

9355 |PROOF of Claim Form For Torture Victims by Elias Gache

9356 | PROOF of Claim Form For Torture Victims by Eleno G. Frago

9357 | PROOF of Claim Form For Torture Victims by Josefa C. Gabitan

9358 | PROOF of Claim Form For Torture Victims by Maria DB. Fugen

9359 PROOF of Claim Form For Torture Victims by Miguel G. Brinas

$360 | PROOF of Claim Form For Torture Victims by Martiniane Meriballes

9361 | PROOF of Claim Form For Torture Victims by Arturo A. Gayon

9362 -PROOF of Claim Form For Torture Victims by Jose Gerolia

9363 ; PROOF of Claim Form For Torture Victims by Dina G. Pimentel

9364 [PROOF of Claim Form For Torture Victims by Norberto E. Haro

9365 | PROOF of Claim Form For Torture Victims by Gorgonio Baidres, Deceased by Caridad
Baldres

9366 | PROOF of Claim Form For Torture Victims by Josefina H. Gemao

9367 | PROOF of Claim Form For Torture Victims by Jose Funelas

9368 ; PROOF of Claim Form For Torture Victims by Aquilina E. Relanes

9369 | PROOF of Claim Form For Torture Victims by Juanito L. Labitag, Sr.

9370 | PROOF of Claim Form For Torture Victims by Sixto Carilla Garilao

9371 | PROOF of Claim Form For Torture Victims by Jose Frencille

9372 | PROOF of Claim Form For Torture Victims by Servilliano Geografo, Deceased by
Estrella G. Gatacelo

9373 | PROOF of Claim Form For Torture Victims by Caridad G. Borromeo

9374 | PROOF of Claim Form For Torture Victims by Maria Fermanes Madronio, Deceased by
Amalia M. Angeles

9375 | PROOF of Claim Form For Torture Victims by Conchita Aninipot

9376 | PROOF of Claim Form For Torture Victims by Loencia Relanes Funelas

9377 | PROOF of Claim Form For Torture Victims by Eddie E. Funelas

9378 | PROOF of Claim Form For Torture Victims by Bebiano Gaza, Sr.

9379 | PROOF of Claim Form For Torture Victims by Hilda Relame Lagata, Deceased by Murie
R. Lagata

9380 | PROOF of Claim Form For Torture Victims by Nenita R. Hermo

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1999
Jun 1 9381 PROOF of Claim Form For Torture Victims by Ramon Buiza, Deceased by Visitacion

: E. Buiza
- 9382. PROOF of Claim Form For Torture Victims by Aida Entico Mendivil
9383 PROOF of Claim Form For Torture Victims by Santiago G. Galarosa
9384 PROOF of Claim Form For Torture Victims by Romero G. Buiza
9385 PROOF of Claim Form For Torture Victims by Magina B. Eduarte
9386 PROOF of Claim Form For Torture Victims by Arturo Grabador
9387 PROOF of Claim Form For Torture Victims by Felimon B. Buiza
9388 PROOF of Claim Form For Torture Victims by Simon Buiza, Deceased by Magina B.
Eduarte
$9389 ° PROOF of Claim Form For Torture Victims by Jose Bultron, Deceased by Rosario B.

: Sacopon

9390 PROOF of Claim Form For Torture Victims by Consolacion Enano

9391 PROOF of Claim Form For Torture Victims by Rogelio Fuensalida, Deceased by

: Teresita Fuensalida

9392 PROOF of Claim Form Fer Torture Yictims by Rufo Glomar

9393 PROOF of Claim Ferm For Torture Victims by Victorio 8. Garais
' 9394 PROOF of Claim Form For Torcure Victims by Fortunato Bataller
' 9395 PROOF of Claim Form For Torture Victims by Claudio G. Gido, Deceased by Salome G.
Gido
9396 | PROOF of Claim Form For Torture Victims by Benjamin E. Estolonia, Deceased by S}
Dominador E. Estolonio
9397 | PROOF of Claim Form For Torture Victims by Rowan Garais
9398 | PROOF of Claim Form For Torture Victims by Agustin Pancipane
9399 > PROOF of Claim Form For Disappearance Victims by Anecito M. Cagadas by Pedrito
T. Cagadas, Sr.
9400 | PROOF of Claim Form For Disappearance Victims by Andreceta Cagadas by Pedrito T.
Cagadas, Sr.
9401. PROOF of Claim Form For Disappearance Victims by Samama Matog and Kuing Matog by
Hadji Macmod Mama
9402 | PROOF of Claim Form For Disappearance Victims by Odim Hadji Ibrahim by Koma Hadji
Ibrahim e@
9403 | PROOF of Claim Form For Disappearance Victims by Benjamin Abril
9404 | PROOF of Claim Form For Disappearance Victims by Romito B. Madronio
9405 | PROOF of Claim Form For Disappearance Victims by Antonio G. Ariado by Anita A.
Grafilo
9406 | PROOF of Claim Form For Disappearance Victims by Sinon Mostrado
9407 | PROOF of Claim Form For Disappearance Victims by Felomina Guban by Pedro Gobis
9408 | PROOF of Claim Form For Disappearance Victimea by Armando Gayon
9409 | PROOF of Claim Form For Disappearance Victims by Jaime Balanta
9410 | PROOF of Claim Form For Disappearance Victims by Gregorio Balanta
9411 , PROOF of Claim Form For Disappearance Victims by Delfin Gazo by Maria Gazo
9412 | PROOF of Claim Form For Disappearance Victims by Rufino Binas by Oligaria Binas
9413 | PROGF of Claim Form For Disappearance Victims by Felicitan Canelas
9414 ; PROOF of Claim Form Yor Disappearance Victims by Benjamin Hamor by Salvacion
Hamor
9415 | PROOF of Claim Form For Disappearance Victims by Amado Gratil by Marina Gratcil
9416 | PROOF of Claim Form For Disappearance Victims by Nasaril E. Fontilar by Lutgarda
G. Fontilar
9417 | PROOF of Claim Form For Disappearance Victims by Ignacio Guban by Teodora Sus
9418 | PROOF of Claim Form For Disappearance Victims by Dominador Canelas

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CIVIL, DOCKET CONTINUATION SHEET
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Jun i 9419 ) PROOF of Claim Form For Disappearance Victims by Elesteno T. Campo by Juana D.
Campo
9420 | PROOF of Claim Form For Disappearance Victims by Fernando Canelas
9421 | PROOF of Claim Form For Disappearance Victims by Ansilmo Balanta
9422 | PROOF of Claim Form For Disappearance Victims by Roque Enate by Nineta Enate
9423 | PROOF of Claim Form For Disappearance Victims by Crisologo Balaore
9424 | PROOF of Claim Form For Disappearance Victims by Ernesto G. Pancipane by Norma
@ B. Pancipane
9425 | PROOF of Claim Form For Disappearance Victims by Ceriace Gealone by Maria Gealone
Germedia
9426 PROOF of Claim Form For Disappearance Victims by Emilio G. Hular by Lito G. Hular
9427 PROOF of Claim Farm For Summary Execution Victims by Hadji Ebrahim Malao by
Summangca Mangrag
9428 | PROOF of Claim Form For Summary Execution Victims by Gaudencio Salvan by Lilia
Salvan
9429 PROOF of Claim Form For Summary Execution Victims by Fortunato M. Dalisay by
Cecelia Dalisay Pasuguiron
9430 PROOF of Claim Form For Summary Execution Victims by Julito F. Pablo by Apolonia
Pablo
9431 : PROOF of Claim Form For Summary Execution Victims by Cecelia Dalisay Pasuguiron
9432 | PROOF of Claim Form For Summary Execution Victims by Felimon M. Abayan, Jr. by
Tluminador 0. Abayan
9433 ) PROOF of Claim Form For Summary Execution Victims by Ricardo §. Cabidig, Jr. by
Angeles P. Cabidig
9434 | PROOF of Claim Form For Summary Execution Victims by Romeo Antonio by Eleonora
Antonio
9435 | PROOF of Claim Form For Summary Execution Victims by Modesto Abayan Garomay
9436 | PROOF of Claim Form For Summary Execution Victims by Kennedy Joaquin by Aurea
Joaquin
9437 | PROOF of Claim Form For Summary Execution Victims by Domingo Progoso by Regina
Pragosa
@ 9438 PROOF of Claim Form For Summary Execution Victims by Atugan Laugan by Patuan S.
Laugan
9439 | PROOF of Claim Form For Summary Execution Victims by Matabay Mangrag by Sumangca
Mangrag
9440 | PROOF of Claim Form For Summary Execution Victims by Hadja Kadiguia A. Mangrag
by Sumangca Mangrag
9441 | PROOF of Claim Form For Summary Execution Victims by Hadji Mangrag Abas by
Sumangea Mangrag
9442 | PROOF of Claim Form For Summary Execution Victims by Hadja Amina Mangrag by
Sumangca Mangrag
9443 | PROOF of Claim Form For Summary Execution Victims by Datukan Pandag by Pandag
Alon
9444 | PROOF of Claim Form For Summary Execution Victims by Luciano Garlet by Lelia
G. Seputado
9445 | PROOF of Claim Form For Summary Execution Victims by Rakman Hasim by Akmad
Sanduyogan
9446 [PROOF of Claim Form For Summary Execution Victims by Gamensa Lukes and Akil Lukes
by Pandutin Kalid
9447 | PROOF of Claim Form For Summary Execution Victims by Sagubakan Hadji Usop by
Samsodin Sagubakan
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CIVIL DOCKET CONTINUATION SHEET
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1999 :
Jun 1 9448 PROOF of Claim Form For Summary Execution Victims by Felisa Antonie by Warlito
Antonio
9449 PROOF of Claim Form For Summary Execution Victims by Jose G. Cabangunay by Estelite
G, Cabangunay
9450 . PROOF of Claim Form For Summary Execution Victims by H. Usman Abdulrachman by
: : Salama Usman
'9451 |PROOF of Claim Form For Summary Execution Victims by Damian Abdulrachman by Salama
: Usman
'9452 [PROOF of Claim Form For Summary Execution Victims by Modsal Ampan
9453 PROOF of Claim Form For Summary Execution Victims by Lilia Godalla
9454 “PROOF of Claim Form For Summary Execution Victims by Jose Espera
9455 .PROOF of Claim Form For Summary Execution Victims by Jose Gogar by Natividad
Gojar Gialone
$456 PROOF of Claim Form For Summary Execution Victims by Pedro Garados
9457 PROOF of Claim Form For Summary Execution Victims by Victorio Frute, Sr. by
: Victorio Fruto, dr.
9458 PROOF of Claim Form For Summary Execution Victims by Wenifredo Gibaga by Pancho
/ Gibaga
9459 PROOF of Claim Form For Summary Execution Victims by Rowan B, Din
(9460 (PROOF of Claim Form For Summary Execution Victims by Rosa Fermanes by Leonora
Fermanes
9461 PROOF of Claim Form For Summary Execution Victims by Warton Fremista by Filiza
Vda de Fremista
9462 (PROOF of Claim Form For Summary Execution Victims by Danilo Fulles by Socorro
Fullos
9463 PROOF of Claim Form For Summary Execution Victims by Alfredo Be Los Santos by
Maxima Vda Be Delos Santos
(9464 (PROOF of Claim Form For Summary Execution Victims by Rosendo D. Campo by Lea C.
Fuentes
9465 PROOF of Claim Form For Summary Execution Victims by Roque $. Gacias by Leonila
G. Forneloza
9466 PROOF of Claim Form For Summary Execution Victims by Soledad G. Gallanesa
9467 (PROOF of Claim Form For Summary Execution Victims by Antonio Gracilla by Lourdes S}
G. Gubat
9468 PROOF of Claim Form For Summary Execution Victims by Justiniano Guban
9469 ‘PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by
Maria Elena Ang
9470 (PROOF of Claim Form by Romeo T. Petugo, Sr.
9471 [Statement Re: Claim by Carmencita 8. Yamba
2 . !9472 IPROOF of Claim Form For Torture Victims by Maximino Tegia, Deceased by Margarita
Teaio
9473 PROOF of Claim Ferm For Torture Victims by Clodualdo A. Cabaljao
9474 /PROOF of Claim Form For Torture Victims by Antonio D. Mabag
9475 iPROOF of Claim Form For Torture Victims by Constancio D. Tobias
9476 (PROOF of Claim Form For Torture Victims by Ernesto M. Mabag
9477 |PROOF of Claim Form For Torture Victims by Constancio D. Lonolono
9478 |PROOF of Claim Form For Torture Victims by Fidel Cabansan
9479 |PROOF of Claim Form For Torture Victims by Alejo 3. Alvarez, Deceased by Fausta
Q. Alvarez
9480 (PROOF of Claim Form For Torture Victims by Monico BD. Tobias
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CIVIL, DOCKET CONTINUATION SHEET

PLAINTIFF BEFENDANT MDL 840
@ TN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION DOCKET NO,

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DATE NR. PROCEEDINGS
1999
Jun 2 9481 ) PROOF of Claim Form For Torture Victims by Inego D. Tobias

9482 | PROOF of Claim Form For Torture Victims by Avelino Camayse
9483 |) PROOF of Claim Form For Torture Victims by Narciso Pacayra
9484 | PROOF of Claim Form For Torture Victims by Antonio D. Tobias, Deceased by Lorna

A, Tobias
/9485 | PROOF of Claim Form For Torture Victims by Nonito G. Gipit, Deceased by Claudio
G. Gipit
©} 9486 | PROOF of Claim Form For Terture Victims by Corazon Amiano Reas
9487 | PROOF of Claim Form For Torture Victims by Cadilon Panalangin

9488 | PROOF of Claim Form For Torture Victims by Pilhi Asei

9489 | PROCF of Claim Form For Torture Victims by Kadilon Kemad

9490 PROOF of Claim Form For Torture Vietims by Dia Darumandao

$49] PROOF of Claim Form For Torture Victims by Blah Salipada

9492 | PROOF of Claim Form For Torture Victims by Konseae Pasawilan

9493 . PROOF of Claim Form For Torture Victims by Jorge L. Cabardo, Deceased by Rosario
N. Cabardo

9494 | PROOF of Claim Form For Terture Victims by Arthur Deiparine

9495 | PROOF of Claim Form For Torture Victims by Jose D. Labitag, Deceased by Mercedes

Labitag

9496 , PROOF of Claim Form For Torture Victims by Elegio Fonteras, Deceased by Lucena
Ponteras

9497 | PROOF of Claim Form For Torture Victims by Pepito C. Garcia, Deceased by Urbano
C. Garcia

9498 | PROOF af Claim Form For Torture Victims by Inacio N. Serbado, Deceased by Lucia
Serrade-Arandoque

9499 | PROOF of Claim Form For Torture Victims by Leoncio E. Dagami, Deceased by Anacita
Dagami

9500 | PROOF of Claim Form For Torture Victims by Silvestre Bantilan

9501 | PROOF of Claim Form For Torture Victims by Roman F. Gidro

9502 | PROOF of Claim Form For Terture Victims by Edito Becio, Deceased by Myrna G.

Ovalalic
9503 | PROOF of Ciaim Form For Torture Victims by Felicidad Deladia Reas
9504 | PROOF of Claim Form For Tarture Victims by Rosalia 0. Cidro

9505 | PROOF of Claim Form For Torture Victims by Romeo Castillo

9506 | PROOF of Claim Form For Torture Victims by Annabella Abade

9507 | PROOF of Claim Form For Torture Victims by Nelda Giocada

9508 | PROOF of Claim Form Fer Torture Victims by Domingo S. Billones

9509 | PROOF of Claim Form For Torture Victims by Hermogenes Billones

9510 | PROOF of Claim Form For Torture Victims by Rufo Bohef, Deceased by Nasaria A.
Bottol

9511 | PROOF of Claim Form For Torture Victims by Charefta Tenedero Lagarto

9512 | PROOF of Claim Form For Torture Victims by Cesareo T. Bermunda, Jr.

9513 | PROOF of Claim Form For Torture Victims by Jose 0. Orendain

9514 | PROOF of Claim Form For Torture Victims by Felix T. Recto, Deceased by Maria
Teresa N. Recto

9515 | PROOF of Claim Form For Torture Victims by Bonifacio C. Suguitan

9516 | PROOF of Claim Form For Torture Victims by Freddie P. Dimacutac

9517 | PROCF of Claim Form For Torture Victims by Ernesto Juanittes

9518 | PROOF of Claim Ferm For Torture Victims by Arleen T. Loza

9519 | PROOF of Claim Form For Torture Victims by Agueda Condes

9520 PROOF of Claim Form For Torture Victims by Julian Barnesto

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1999 :
Jun 2 9521 (PROOF of Claim Form For Torture Victims by Elfieda F. Serrano-Ygona
9522 [PROOF of Claim Form For Torture Victims by Napoleon F. Sango
9523 [PROOF of Claim Form For Torcure Victims by Felix Lubguban, Deceased by Alberta
: Lubguban

9524 PROOF of Claim Form For Torture Victims by Rafael B. Real

‘9525 PROOF of Claim Form For Torture Victims by Paulito A. Reyes

9526 PROOF of Claim Form For Torture Victims by Maria Elnora O. Monteclaro

9527 [PROOF of Claim Form For Torture Victims by Ignacio Lumadao, Deceased by Luzviminda

, : Lumadao Medrano

9528 ‘(PROOF of Claim Form For Torture Victims by Jesus B. Cabangunay

9529 [PROOF of Claim Form For Torture Victims by Santiago M. Balondo

‘9530 PROOF of Claim Form For Torture Victims by Bienvenido Gabansan

9531 PROOF of Claim Form For Torture Victims by Antonio Calutan

9532 PROOF of Claim Form For Torture Victims by Feliciano R. Cubacub, Jr.

9533 PROOF of Claim Form For Torture Victims by Ramon M. Geografo

9534 ‘PROOF of Claim Form For Torture Victims by Marilou Bigornia Valera

9535 (PROOF of Claim Form For Torture Victims by Emmanuel L. Lazo, Deceased by Baudillo

i L. Lazo

9536 PROOF of Claim Form For Torture Victims by Miguel A. Mabansag

9537 ‘PROOF of Claim Form For Torture Victims by Abraham P. Balise

9538 PROOF of Claim Form For Torture Victims by Amador N. Cauilan @

9539 (PROOF of Claim Form For Torture Victims by Portia Aldon-Sravo

9540 (‘PROOF of Claim Form For Torture Victims by Angelito H. Fortes

9541 PROOF of Claim Form For Torture Victims by Jaime Pecoro, Deceased by Nenita Pecoro
9542 PROOF of Claim Form For Torture Victims by Ricardo Banada

9543 [PROOF of Claim Form For Torture Victims by Pacifico M. Lozada

9544 PROOF of Claim Form For Torture Victims by Sonny “Rosman” V. Asignacion

9545 PROOF of Claim Form For Torture Victims by Arturo Banada, Sr., Deceased by
Purificasion Hanada

9546 PROOF of Claim Form For Torture Victims by Billy M. Montecillo

9547 [PROOF of Claim Form For Torture Victims by Domingo Poligon

9548 (PROOF of Claim Form For Torture Victims by Alfredo H. Hadap, Deceased by Cristina q

9549 PROOF of Claim Form For Torture Victims by Juan Barnesto

9550 PROOF of Claim Form For Torture Victims by Benito Francisco

9551 ‘PROOF of Claim Form For Torture Victims by Benedicto 3. Dawis

9552 PROOF of Claim Form For Torture Victims by Concepcion Quilaquil Asignacion

9553 |PROOF of Claim Form For Disappearance Victims by Amil Edsra by Roy Edsra

9554 PROOF of Claim Form For Disappearance Victims by Klog Lakin

9555 PROOF of Claim Form For Disappearance Victims by Abu Lakim by Kiog Lakim

9556 PROOF of Claim Form For Disappearance Victims by Yusop Budie by Hasim G. Yusap
9557 (PROOF of Claim Form For Disappearance Victims by Macmod Guialil by Guialil Ayob
9558 PROOF of Claim Form For Disappearance Victims by Mastura Yusop by Hadji Settie
Yusep

9559 PROOF of Claim Form For Disappearance Victims by Bayanon Sumiling

9560 PROOF of Claim Form For Disappearance Victims by Rogelio A. Quijano by Carmin A.
Qui jane

9561 PROOF of Claim Form For Disappearance Victims by Jahara M. Bayang

9562 PROOF of Claim Form For Disappearance Victims by Willie P. Rubiato by Rosila P.

Rubiato
9563 PROOF of Claim Form For Disappearance Victims by Abedin Kadalaga

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1999 :
Jun 2 9564 PROOF of Claim Form For Disappearance Victims by Kanapia Lakiman by Mastura

Lakiman
9565 PROOF of Claim Form For Disappearance Victims by Cabili $. Alon
9566 PROOF of Claim Form For Disappearance Victims by Nelson €. Salvacion by Vevencia
i Salvacion Banawa
9567 | PROOF of Claim Form For Disappearance Victims by Pacifico M. Lozada
9568 | PROOF of Claim Form For Disappearance Victims by Kambong Dimarob by Darnan Jaup
@ 9569 PROOF of Claim Form For Summary Execution Victims by Salim H. Esmail
9570 PROOF of Claim Form For Summary Execution Victims by Pangulima Kaluguian
9571 PROOF of Claim Form For Summary Execution Victims by Rasid L. Salending
9572 PROOF of Claim Form For Summary Execution Victims by Pasandalan Lagasan and
: Talatug Pasandalan by Guiamadel Pasandalan
9573 PROOF of Claim Form For Summary Execution Victims by Guinaid U. Antao
9574 PROOF of Claim Form For Summary Execution Victims by Antonio Mendinveto Hilario
by Antonio Victor Andrada Hilario
9575 |PROOF of Claim Form For Summary Execution Victims by Pedro S$. Batula by Felipe

5. Batula
9576 |; PROOF of Claim Form For Summary Execution Victims by Rodolfo R. Mabag by Melecio
Cabaljao
9577 | PROOF of Claim Form For Summary Execution Victims by Venancio Jabulan by Mila J.
© Labong
9578 | PROOF of Claim Form For Summary Execution Victims by Edgardo Cabaliao by Macaria

A. Gabaljao

9579 | PROOF of Claim Form For Summary Execution Victims by Porceso ¢. Sablan by Melecia
D. Cabaljao

9580 PROOF of Claim Form For Summary Execution Victims by Melchor A. Mabahin by Jaime
M. Jacobe

9581 | PROOF of Claim Form For Summary Execution Victims by Segundino P. Camayse by
Avelino P. Camayse

9582 | PROOF of Claim Form For Summary Execution Victims by Wilfredo Solayao by Estrella
Solayao

9583 |! PROOF of Claim Form For Summary Execution Victims by Alfredo S$.
© 3. Batula

9384 |PROOF of Claim Form For Summary Execution Victims by Rafael L. Abana by Mamerto

L. Abena
9385 | PROOF of Claim Form For Summary Execution Victims by Salik Sedik by Abdullah

Sedik

9586 | PROOF of Claim Form For Summary Execution Victims by Managada Dimasangkay by

Datu Laguiab Dimansangkay

$587 | PROOF of Claim Form For Summary Execution Victims by Pendilang Mohamad by Hadiguia

Mohamad
9588 | PROOF of Claim Form For Summary Execution Victims by Maitun Lumayeng by Hadiguia

Mohemad

9589 | PROOF of Claim Form For Summary Execution Victims by Nanie Maliga, Segundo
Matingkong and Ganaban Matingkong by Guiamad Matingkong

9590 | PROOF of Claim Form For Summary Execution Victims by Abdullah Macabuat by Ali P.

Batula by Felipe

Macabuat

93591 |: PROOF of Claim Form For Summary Execution Victims by Aliamam Mamucao by Guiaiudin
Mamucao

9592 |; PROOF of Claim Form For Summary Execution Victims by Meriam Pendilang by Hadiguia
Mohamad

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CIVIL, DOCKET CONTINUATION SHEET

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IN RE: ESTATE OF FERDINAND £E. MARCOS HUMAN RIGHTS LITIGATION DOCKET NO MDL B40 |

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DATE "NR,
1999
Jun 2 (9593 PROOF of Claim Form For Summary Execution Victims by Abdullah Pendilang by

Hadiguia Mohamad
9594 [PROOF of Claim Form For Summary Execution Victims by Mando D. Aguil by Abdulan

: : Aguil

‘9595 PROOF of Claim Form For Summary Execution Victims by Abdulla Gunda by Hagi Haplia

9596 ‘PROOF of Claim Form For Summary Execution Victims by Samayatin Kamad by Taks Kamad

‘9597 PROOF of Claim Form For Summary Execution Victims by Kariguia Guntong by Willisen

Guntong

9598 (PROOF of Claim Form For Summary Execution Victims by Abdal Guialal

9599 PROOF of Claim Form For Summary Execution Victims by Aga Guialal

9600 ‘PROOF of Claim Form For Summary Execution Victims by Salipapa 8. Sulaiman by

/ Abdullah Baglid Sulaiman

3601 (PROOF of Claim Form For Summary Execution Victims by Sulaiman U. Kugong and Kamid
R. Sulaiman by Abdullah Baglid Sulaiman

9602 PROOF of Claim Form For Summary Execution Victims by Kamenza Mamengkas by Norma

Kamenza
9603 PROOF of Claim Form For Summary Execution Victims by Makog Akang by Samrah Akang
9604 PROOF of Claim Form For Summary Execution Victims by Sali Zacaria by Omar Sali
9605 PROOF of Claim Form For Summary Execution Victims by Paluk Mayasa by H. Amina
Mayasa
9606 [PROOF of Claim Form For Summary Execution Victims by Impao Ahmad by Samaiya Impao
9607 (PROOF of Claim Form For Summary Execution Victims by Hadji Said Napi by Salama
Bulawa
$608 [PROOF of Claim Form For Summary Execution Victims by Saeban Salinugen by
Guiamaludin Saeban
9609 [PROOF of Claim Form For Summary Execution Victims by Otambai Abdul Guialal by
Fatima Guialal Otto
9610 (PROOF of Claim Form For Summary Execution Victims by Agsalam Guialal by Fatima
Guialal
9611 |PROOF of Claim Form For Summary Execution Victims by Abdulradsack S$. Guianon by
: Yasser S$. Guianon
9612 (PROOF of Claim Form For Summary Execution Victims by Deding Malo Guianon by Yasser
S$. Guianon S
9613 PROOF of Claim Form For Summary Execution Victims by H. Usop Mindo by Aga H. Samad
Mindo
9614 [PROOF of Claim Form For Summary Execution Victims by Used Asim by Asim Usman
9615 PROOF of Claim Form For Summary Execution Victims by Umar Baldek by Omar Baldek
(9616 PROOF of Glaim Form For Summary Execution Victims by Ibad Karilang by Sinaliya
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OG1/ PROOF of Claim Form For Summary Execution Victims by Taib Pindaliday
9618 PROOF of Claim Form For Summary Execution Victims by Pidtandingan Ayonan
9619 PROOF of Claim Form For Summary Execution Victims by Rodrigo B. Timple by Rita
Timple
$620 PROOF of Claim Form For Summary Execution Victims by Gerardo Hizola by Edgardo
Hizola
9621 PROOF of Claim Form For Summary Execution Victima by Herbasio Calderen by Mary ¥.
Calderon
9622 [PROOF of Claim Form For Summary Execution Victims by Pedro Bitemug by Fe G.
: Bitamug
$623 PROOF of Claim Form For Summary Execution Victims by Wilfredo Mier by Rowena Mier

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Jun 2 9624 |} PROOF of Claim Form For Summary Execution Victims by Macliing Dulag by Luis
Gunday
9625 . PROOF of Claim Form For Summary Execution Victims by Iglecirio Delos Santos
9626 | PROOF of Claim Form For Summary Execution Victims by Remegildo Dalisay by Fermina
Dalisay
9627 | PROOF of Ciaim Form For Summary Execution Victims by Jiame Quilla by Aida R.
Mariano
$628 | PROOF of Claim Form For Summary Execution Victims by Provo Valdevieso

9629 PROOF of Claim Form For Summary Execution Victims by Gerry Barrientos
9630 PROOF of Claim Form For Summary Execution Victims by Cresenciano Dionaldo by
Esterlita T. Dionaldo
9631 PROOF of Claim Form For Summary Execution Victims by Efren M. Sarancanlao
9632 ) PROOF of Claim Form For Summary Execution Vietims by Avelino Fernando
9633 | PROOF of Claim Form For Summary Execution Victims by Edwin Sta. Ana by Sotera
Sta. Ana
9634 PROOF of Claim Form For Summary Execution Victims by Potenciano Jontilla
9635 PROOF of Claim Form For Summary Execution Victims by Alejandro Candolita
9636 | PROOF of Claim Form For Summary Execution Victims by Alfonso Tayco

9637 | PROOF of Claim Form For Summary Execution Victims by Francisco Guillermo
@ 9638 PROOF of Claim Form For Summary Execution Victims by Anastacio Condez

9639 | PROOF of Claim Form For Summary Execution Victims by Editha T. Levega
9640 | PROOF of Claim Form For Summary Execution Victims by William Talde
9641 |; PROOF of Claim Form For Summary Execution Victims by Ceferino Gauran, Jr. by
Anita Gauran
9642 |) PROOF of Claim Form For Summary Execution Victims by Alvaro Ambubuyog
9643 | PROOF of Claim Form For Summary Execution Victims by Kusain Guiaber by Hanipa P.

Guiaber
9644 | PROOF of Claim Form For Summary Execution Victims by Babasol Kalumsing by Malibpu]

Kalunsing
9645 | PROOF of Claim Form For Summary Execution Victims by Kebay Mangompig and Abas

Hadji by Edris Bungka
@ 9646 | PROOF of Claim Form For Summary Execution Victims by Pilot Guiamelon by Samalia

K. Guiamelon
9647 | PROOF of Claim Form For Summary Execution Victims by Romipali Datu Manong by

Ronnie ALi
9648 | PROOF of Claim Form For Summary Execution Victims by Juanito Estelloso by Arsenic

Estolloso

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9649 | PROOF of Claim Form For Summary Execution Victims by Nenita Agustin by Aurelio
Francisco

9650 | PROOF of Claim Form For Summary Execution Victims by Napoleon Ortega by Melicia
Ortega

9651 PROOF of Claim Form For Summary Execution Victims by Apan Ansulat by Begi Ansulat
9652 | PROOF of Claim Form For Summary Execution Victims by Reynaldo R. Mabag by Melecio

C. Gabaljae
9653 | PROOF of Claim Form For Summary Execution Victims by Romeo Batula by Felipe 5.

Batula

9654 | PROOF of Claim Form For Summary Execution Victims by Tiambak Sandigan by Tautin
Tambak

9655 | PROOF of Claim Form Fer Summary Execution Victims by Kaido Ligalingan by Makinong
Ugalinpay

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(Rev. F78}
Civil. DOCKET CONTINUATION SHEET

FLAINTIFE CRFENDANT
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION , DOCKET NO MDL 540

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BATE NR, : PROCEEGINGS

“1999
Jun 2 9656 PROOF of Claim Form For Summary Execution Victims by Guiamaludin Abdullah by

Abdullah Noredin
9657 PROOF of Claim Form For Summary Execution Victims by Sampolna Akic by Esmail

: : Sampolna
‘9658 PROOF of Claim Form For Summary Execution Victims by Mangudarat Kenak by Kader

: : Mangudarat
9659 PROOF of Claim Form For Torture, Summary Execution and Disappearance Victims by

Nonilon V. Queano

3 ‘9660 PROOF of Claim Form Fer Torture Victims by Juliana N. Fortes
‘9661 PROOF of Claim Form Fer Torture Victims by Rodolfo Garais
9662 PROOF of Claim Form For Torture Victims by Jellen G. Payra
9663 PROOF of Claim Form For Torture Victims by Carlos Aquerre
9664 (PROOF of Claim Form Fer Torture Victims by Elisa Aquerre
9663 PROOF of Claim Form For Torture Victims by Pesi Kabugatan, Deceased by Akil
. Kabugatan
9666 PROOF of Claim Form For Torture Victims by Guianadil L. Kuda
9667 PROOF of Claim Form For Torture Vietims by Balos Konok
9668 (PROOF of Claim Form For Torture Victims by Kusin Ura
9669 PROOF of Claim Form For Torture Victims by Vicente Omar, Deceased by Abdullah
Omar
9670 (PROOF of Claim Form For Torture Victims by Nur Sahak
9671 ‘(PROOF of Claim Form For Torture Victims by Bombeolin Alilaya
9672 |PROOF of Claim Form For Torture Victims by Villegas Regelio
9673 (PROOF of Claim Form For Torture Victims by Jaime R. Regalario
9674 |PROOF of Claim Form For Yorture Victims by Ernesto 0. Severino, Deceased by
i Guadalupe C. Severino
9675 (PROOF of Claim Form For Torture Victims by Akil Talilisen
9676 [PROOF of Claim Form For Torture Victims by Saikali Bayon, Deceased by Balon
Saikali
9677 PROOF of Claim Form For Torture Victims by Adolfo Gotiza, Deceased by Nieves G.

Guanizo eS
9678 PROOF of Claim Form For Torture Victims by Pancho Motin
9679 [PROOF of Claim Form For Torture Victims by Uling Kanga
9680 PROOF of Claim Form For Torture Victims by Tambak Kabugatan, Deceased by Akil
Kabugatan
9681 PROOF of Claim Ferm For Torture Victims by Kasid Depak
9682 [PROOF of Claim Form For Torture Victims by Alejandro F. Sarsona, Deceased by
Trinidad B. Sarsona
9683 PROOF of Claim Form For Torture Victims by Tiburcio 8. Babon
9684 PROOF of Claim Form For Torture Victims by Kamaro Sinon
9685 PROOF of Claim Form Fer Torture Victims by Kagan Mamalinta
9686 PROOF of Claim Form For Torture Victims by Tugay Gumong
9687 [PROOF of Claim Form For Torture Victims by Jose Bruiz, Deceased by Angelita B.
Bruiz
9688 PROOF of Claim Form For Disappearance Victims by Abdullah Talusan by Palti Talusan
S689 PROOF of Claim Form For Disappearance Victims by Kalima Salim and Kanapia Salim
by Lumanggay Tapkong
9690 PROOF of Claim Form For Disappearance Victims by Mokamad Abedin by Pinting Dindo
P691 PROOF of Claim Form For Disappearance Victims by Saut Samad by Samad Pindulunan

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CIVEL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENOANT : :
e EN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION | oockert no, MDL 840
pace si8or_ paces
DATE NR. PROCEEOINGS
1999
Jun 3 9692 PROOF of Claim Form For Disappearance Victims by Singapol Abdulgani by Maglib
Abdulgani
9693 PROOF of Claim Form For Disappearance Victims by Guialoson Guiamel by Salika
: Guiamel Sadal ,
9694 PROOF of Claim Form For Disappearance Victims by Basir H. Kabib by Kirukan H.
Kabib
9695 . PROOF of Claim Form For Disappearance Victims by Mama Usman by Abas Kaiya
@ 9696 | PROOF of Claim Form For Disappearance Victims by Samat Haren by Haron Brahim
9697 | PROOF of Claim Form For Disappearance Victims by Usop Samad and Tuka Samad by
Kasam Samad
9698 PROOF of Claim Form For Disappearance Victims by Sinapal Agao by Kere Madidis
Sinapal
9699 . PROOF of Claim Form For Disappearance Victims by Mustapha Ali by Araw Kamenza Ali
9700 | PROOF of Claim Form For Disappearance Victims by Rahib Kasan Single by Kasan Buat
9701 [PROOF of Claim Form For Disappearance Victims by Yusop Budgie by Hasim G. Yusep
9702 | PROOF of Claim Form For Disappearance Victims by Blah Asim by Lakiman Asim
$703 PROOF of Claim Form For Disappearance Victims by Bitol Mangulamag by Abdulrahin
Mangulamas
9704 | PROOF of Claim Form For Disappearance Victims by Klang Mandalait by Dodong
Mandalait
9705 PROOF of Claim Form For Disappearance Victims by Malaydan Mabulaba by Saiden

M. Mosanep
9706 |PROOF of Claim Form Fer Disappearance Victims by Manamping Saldy by Saldy
Maka limbang
9707 | PROOF of Claim Form For Disappearance Victims by Undo Kamaensa by Datukan Kamensa
9708 | PROOF of Claim Ferm For Disappearance Victims by Baluno Urag by Urag Zain
9709 | PROOF of Claim Form For Disappearance Victims by Makalonas Sabidra by Angkad
Makalonas
9710 | PROOF of Claim Form For Disappearance Victims by Lamada Kutid and Snak Kutid by
Modin Kutid
9711 |PROOF of Claim Form For Disappearance Victims by Ulama Guinat by Rahib Ulama
@ 9712 | PROOF of Claim Form For Disappearance Victims by Klog. Lakim

9713 | PROOF of Claim Form For Disappearance Victims by Abas Usman by Kaiya Abar
9714 | PROOF of Claim Form For Disappearance Victims by Esmail Kamad, Abdulkadir Kamad
and Saidal Hji Talusob by Kamad Ali Talusob
9715 | PROOF of Claim Form For Disappearance Victims by Malaydan Magulaba by Saipin
Mosanep
9716 | PROOF of Claim Form For Disappearance Victims by Bagonto Saliwan by Gary Baliwan
9717 | PROOF of Claim Form For Disappearance Victims by Kebad Bayao by Bayac Salim
9718 | PROOF of Claim Form For Disappearance Victims by Buka Kimay by Sallee Buka
9719 |PROOF of Claim Form For Disappearance Victims by Mukasil Bituanan by Bituanan
Abdul
9720 |PROOF of Claim Form For Disappearance Victims by Subaika Sekong by Salilama
Sekong
$721 | PROOF of Claim Form For Disappearance Victims by Takol Bankulat by Tugay Gamong
9722 |PROOF of Claim Form For Disappearance Victims by Mondoza Ablo and Okangki
Kaliyagan by Manambilang Usman
9723 PROOF of Claim Form For Disappearance Victims by Salipada A. Sawal
9724 PROOF of Claim Form For Disappearance Victims by Pendaliday Gumama by Taeb

Pendaliday

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF - DEFENDANT
IN RE: ESTATE OF FERDINAND E. MARCOS RUMAN RIGHTS LITIGATION

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DATE NR PROCEEDINGS

1999
Jun 3 °9725 |: PROOF of Claim Form For Summary Execution Victims by Emban Guiali by Sansaluna
i Bansawan Amirol

9726 PROOF of Claim Form For Summary Execution Victims by Mesanip Edres and Ahmad Edreg
i by Ating Edres
‘9727 | PROOF cf Claim Form For Summary Execution Victims by Masikebpong Mamilanggo by
: : Sanny Mamilanggo
°9728 PROOF of Claim Form For Summary Execution Victims by Osi Okay by Kabaiyan Salendah
‘9729 PROOF of Claim Form For Summary Execution Victims by Pablito Bongabong by Merlin F. @

: Bongabong .
9730 PROOF of Claim Form For Summary Execution Victims by Guiamadil Amirel by Sansaluna

Bansawan Amirol
-9731 : PROOF of Claim Form For Summary Execution Victims by Toto Tunggal by Ali Tungal
‘9732 . PROOF of Claim Form For Summary Execution Victims by Akmad Mamedted, Lokis
Mamedted, Sambutuan Mamedted, Mingko Mamedted and Lune Mamedted by Akmad
Mamedted
9733 i PROOF of Claim Form For Summary Execution Victims by Midtemeg Utto by Utto Ernie
9734 PROOF of Claim Form For Summary Execution Victims by Langog Sinon by Kamaro Sinon
9735 |PROOF of Claim Form For Summary Execution Victims by Biangi Lukas by Ging Lukas
9736 |PROOF of Claim Form For Summary Execution Victims by Kamad K. Benite by Mario L.

Benito
9737 |PROOF of Claim Form For Summary Execution Victims by Bakalat Sapi by Marcos Sapi ©
$738 |PROOF of Claim Form For Summary Execution Victims by Gani Ambag by Babay Akoy Amba
9739 (PROOF of Claim Form For Summary Execution Victims by Bontaric Duka by Bainola

Takoling Duka

9740 iIPROOF of Claim Form For Summary Execution Victims by Macmod Taha by Gandela Taha
9741 PROOF of Claim Form For Summary Execution Victims by Hadji Kamid Solayman by Naliga
Kamid

9742 |PROOF of Claim Form For Summary Execution Victims by Madatu Guiamadel by Madatu
Mike

9743 PROOF of Claim Form For Summary Execution Victims by Udting T. Ree by Salik Udtong|
9744 (PROOF of Claim Form For Summary Execution Victims by Bituanen Kamenza by H. Rahma

Kamenza

9745 PROOF of Claim Form For Summary Execution Victims by Mohamad Silongan by Salma @
Silongan

9746 !PROOF of Claim Form For Summary Execution Victims by Arman Kendeng by Grain
Kendeng

9747 (PROOF of Claim Form For Summary Execution Victims by Ibrahim Alipulo by Lenggecan
Alipulo

9748 [PROOF of Claim Form For Summary Execution Victims by Mulod Kanid Palao by Gumaga
Pinalin Palao

9749 [PROOF of Claim Form For Summary Execution Victims by Korseno Estillore by Thelma
Estillore

9750 (PROOF of Claim Form For Summary Execution Victims by Dayo Malang by Kusain Malang
9751 [PROOF of Claim Form For Summary Execution Victims by Guiomla Makod by Radiguia

Maked

9752 [PROOF of Claim Form For Summary Execution Victims by Maido Minandang by Andag
Pendatun

9753 (PROOF of Claim Form For Summary Execution Victims by Gapar Ebrahim by Mamotalaga
Panayaman

9754 |PROOF of Claim Form For Summary Execution Victims by Edzel L. Balat by Tungay Edzell
$755 (PROOF of Claim Form For Summary Execution Victims by Sulay Manibpel by H. Kalima
Manibpel Laugan

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PLAINTIFF | CEFENDANT
© IN RE: ESTATE OF FERDINAND E. MARCOS | HUMAN RIGHTS LITIGATION

DOCKET NO. MDL 840

PAGE 3200F PAGES
DATE NR. PROCEEDINGS
1999
Jun 3 9756 | PROOF of Claim Form For Summary Execution Victims by Aludin Sansawi by Sansawi
Musa
9757 PROOF of Claim Form For Summary Execution Victims by Mama Dubpalen by Satar
Dubpalen

9758 | PROOF of Claim Form For Summary Execution Victims by
PROOF of Claim Form For Summary Execution Victims by

9759
@ Talusan

9760 | PROOF of Claim Form For Summary Execution Victims by
Menib Salendad
9761 | PROOF of Claim Form For Summary Execution Victims by
Bantan
9762 | PROOF of Claim Form For Summary Execution Victims by
Luba lang
9763 | PROOF of Claim Form For Summary Execution Victims by
9764 | PROOF of Claim Form For Summary Execution Viecims by
9765 | PROOF of Claim Form For Summary Execution Victims by
Maliwana
9766 | PROOF of Claim Form For Summary Execution Victims by

Makazkait
9767 | PROOF of Claim Form For Summary Execution Victims by
by Bai Manot Sultan

9768 | PROOF of Claim Form For Summary Execution Victims by
Abdul

9769 | PROOF of Claim Form For Summary Execution Victims by
9770 | PROOF of Claim Form For Summary Execution Victims by
Maliga by Fatima Maliga

9771 | PROOF of Claim Form Por Summary Execution Victims by
by Macapanton Afdal

9772 | PROOF of Claim Form For Summary Execution Victims by
Baldek by Uttak Baldek

@ 39773 | PROOF of Claim Form For Summary Execution Victims by
9774 | PROOF of Claim Form For Summary Execution Victims by
Ansid
9775 | PROOF of Claim Form For Summary Execution Victims by
Enok
3776 | PROOF of Claim Form For Summary Execution Victims by
Saidali
9777 | PROOF of Claim Form For Summary Execution Victims by
Ungkil
9778 | PROOF of Claim Form For Summary Execution Victims by
Duka
9779 | PROOF of Claim Form For Summary Execution Victims by
Kulepog

9780 | PROOF of Claim Form For Summary Execution Victims by

Mamangkeas Guiabal
9781 | PROOF of Claim Form For Summary Execution Victims by

Ontolan
9782 | PROOF of Claim Form For Summary Execution Victims by

Esmael Guiaman

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angen, Kalid Angen and Mudsal Angen by Ebpo Angen

Kadelon Angen, Macunang
Munib A. Talusan by Raguib
Hadji Akmad Salendad by
Bansil Bantan by Paitem
Abdul Lubalang by Madto
Maitula Buga

Omar Damao by Mamadil Damac
Jubagon Sakulonga by Teng
Pigkaulan Kamad by Kamad
Musanip Hadji Abdulrahman

Datu Manong Abdul by Ali

Talino Kamid by Bayang Kamid
Lagialo Maliga and Giuna

Kalunsiyan Kamansa Afdal

1

Mama Baldek and Madidis ~

Gunian Usop by Usop Langaig
Guiambangan Birok by Fatima

Mangadtog Enok by Mambay
Kusay Alamada by Samsudin
Tato Unhkil by Guiaplos
Samendugan Duka by Ansama
Marato Kulepog by Samunan
Guiabalail Guiabal by
Canote Ontulan by George

Abdulmunain Guiaman by

